Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 1 of 41




                    EXHIBIT A
Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 2 of 41




                                                          Exhibit A, Page 10
Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 3 of 41




                                                          Exhibit A, Page 11
Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 4 of 41




                                                          Exhibit A, Page 12
Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 5 of 41




                                                          Exhibit A, Page 13
Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 6 of 41




                                                          Exhibit A, Page 14
Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 7 of 41




                                                          Exhibit A, Page 15
Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 8 of 41




                                                          Exhibit A, Page 16
Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 9 of 41




                                                          Exhibit A, Page 17
Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 10 of 41




                                                          Exhibit A, Page 18
Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 11 of 41




                                                          Exhibit A, Page 19
Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 12 of 41




                                                          Exhibit A, Page 20
Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 13 of 41




                                                          Exhibit A, Page 21
Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 14 of 41




                                                          Exhibit A, Page 22
Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 15 of 41




                                                          Exhibit A, Page 23
Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 16 of 41




                                                          Exhibit A, Page 24
Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 17 of 41




                                                          Exhibit A, Page 25
Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 18 of 41




                                                          Exhibit A, Page 26
Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 19 of 41




                                                          Exhibit A, Page 27
Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 20 of 41




                                                          Exhibit A, Page 28
Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 21 of 41




                                                          Exhibit A, Page 29
Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 22 of 41




                                                          Exhibit A, Page 30
Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 23 of 41




                                                          Exhibit A, Page 31
Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 24 of 41




                                                          Exhibit A, Page 32
Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 25 of 41




                                                          Exhibit A, Page 33
Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 26 of 41




                                                          Exhibit A, Page 34
Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 27 of 41




                                                          Exhibit A, Page 35
Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 28 of 41




                                                          Exhibit A, Page 36
Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 29 of 41




                                                          Exhibit A, Page 37
Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 30 of 41




                                                          Exhibit A, Page 38
Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 31 of 41




                                                          Exhibit A, Page 39
Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 32 of 41




                                                          Exhibit A, Page 40
Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 33 of 41




                                                          Exhibit A, Page 41
Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 34 of 41




                                                          Exhibit A, Page 42
Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 35 of 41




                                                          Exhibit A, Page 43
Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 36 of 41




                                                          Exhibit A, Page 44
Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 37 of 41




                                                          Exhibit A, Page 45
Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 38 of 41




                                                          Exhibit A, Page 46
Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 39 of 41




                                                          Exhibit A, Page 47
Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 40 of 41




                                                          Exhibit A, Page 48
Case 3:15-cv-01608-AVC Document 1-1 Filed 09/16/15 Page 41 of 41




                                                          Exhibit A, Page 49
